      Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 1 of 16



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ARCHROCK SERVICES, L.P.,                           §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §   Civil Action No. 4:18-CV-1712
                                                   §
ROBERT L. ESHLEMAN,                                §
                                                   §
               Defendant.                          §

                              AGREED PROTECTIVE ORDER

        The parties stipulate that the following procedures shall govern the production and

exchange of all documents, testimony, discovery, and other information produced, given, or

exchanged by and among them. Should parties later be added to this proceeding, the parties

hereto agree that such parties shall not receive “Confidential” or “Confidential – Attorney’s Eyes

Only” Discovery Material, as defined herein, without first becoming signatory hereto. Any third

party producing information may avail itself of the protections of this order, and any party may

designate materials produced by a third party for protection as set forth herein.

                                       Purpose and Scope

     1. Discovery in this action may involve disclosure of trade secrets and other sensitive,

confidential and proprietary business, technical, and financial information as well as private

personal or individual financial information. This Protective Order (the “Order”) therefore is

intended to protect against unauthorized disclosure of any such information and to ensure that

such information will be used only for purposes of this action. This Order shall govern all

information (whether in writing, electronic, or other form), interrogatory responses, responses to

requests for admission, documents produced in response to requests for production or voluntary
     Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 2 of 16



production of documents, testimony, deposition testimony, including but not limited to all

copies, excerpts, and summaries thereof or materials serviced therefrom, including all such

materials which are used in the course of pretrial discovery and other proceedings in this action

or any motions, briefs, or other filings incorporating such information (collectively, “Discovery

Material”).

                                          Applicability

    2. The provisions of this Order shall apply to (i) the parties presently named in this action,

including, in the case of parties other than individuals, their officers, directors, employees,

representatives and agents and (ii) any other person or entity who produced Discovery Material

in this action and who agrees to be bound by the terms of this Order.

                                   Designation of Materials

    3. The producing parties may designate any discovery Materials as “Confidential” or

“Confidential – Attorney’s Eyes Only” when a party, third party, or its counsel in good faith

believes that such Discovery Material qualifies for such a designation pursuant to the terms of

this Order. For purposes of this Order, a producing party may designate as “Confidential” any

material which contains or discloses any of the following: (a) Non-public insider information,

personnel files, financial information, trade secrets, confidential commercial information,

proprietary information, or other confidential or sensitive information which the producing party

determines in good faith should be kept confidential; and (b) information that the producing

party is under a duty to preserve as confidential under an agreement with or other obligation to

another Person.     For the purposes of this Order, a producing party may designate as

“Confidential – Attorney’s Eyes Only” information or documents which qualify as

“Confidential” under the terms of this Order and which contain or disclose materials which the



                                                                                                2
 
     Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 3 of 16



producing party in good faith believes to be of an extremely high degree of current commercial

sensitivity and/or would provide a competitive advantage to the Parties in this case if disclosed.

The types of information and documents that may be designated as “Confidential” or

“Confidential – Attorney’s Eyes Only” includes, but is not limited to, trade secrets; customer

lists and information; employment and compensation information; or the private personal or

financial affairs of any individual subject to discovery in this action.

    4. Any documents, materials or business information pertaining to third party CSI

Compressco LP or any of its related entities, parents, or subsidiaries (collectively “CCLP”) shall

be automatically designated as “Confidential – Attorney’s Eyes Only” under this Order, unless

the party attempting to produce or use such documents, materials, or information provides

advance written notice to CCLP’s outside lawyers at Stuart PC at least ten (10) calendar days

prior to the intended date of production advising them of such party’s intent to produce or use

such documents, material, or information without a “Confidential – Attorney’s Eyes Only”

designation. Upon receipt of such notice, the producing party and CCLP will attempt to resolve

any dispute regarding such designation under this Order in good faith before seeking Court

intervention. No CCLP documents, materials or business information shall be produced or used

without a “Confidential – Attorney’s Eyes Only” designation under this Order until CCLP and

the producing party and/or the party seeking to use same have mutually agreed upon the

appropriate lesser designation or the Court has issued a ruling regarding the appropriate

designation of such materials.

    5. It shall be the duty of the party or a third party who seeks to invoke protection under this

Order to give notice, in the manner set forth hereinafter, of the “Confidential” or “Confidential –

Attorney’s Eyes Only” Discovery Material to be covered hereby. The duty of the other parties



                                                                                                 3
 
     Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 4 of 16



and all of the parties bound by this Order to maintain confidentiality hereunder shall commence

with such notice.

                                            Disclosure

    6. Except with the prior consent of the producing party or upon prior order of a court of

competent jurisdiction, “Confidential” or “Confidential – Attorney’s Eyes Only” Discovery

Material shall not be disclosed except in accordance with the terms, conditions, and restrictions

of this Order.

                         Discovery Material Designated “Confidential”

    7. Except with the prior consent of the producing party or upon prior order of this Court,

Discovery Material designated “Confidential” shall not be disclosed directly or indirectly by the

person receiving such material to persons other than the following persons, as to whom

disclosure shall be limited to the extent reasonably necessary for the prosecution, defense, and/or

appeal of this action.

           a. Subject to paragraphs 17, 18 and 19 of this Order, the Court, persons employed by
              the Court, and stenographers transcribing the testimony or argument at a hearing,
              trial, or deposition in this action or any appeal therefrom;

           b. Counsel for the parties in this action, associates, legal assistants, litigation support
              personnel, paralegals, secretarial and clerical employees, and outside copy
              services, litigation consulting services, document management services, and
              graphic services that are assisting counsel in the prosecution, defense, and/or
              appeal of the actions referenced in this subparagraph;

           c. Subject to paragraph 10 of this Order, independent and party experts, consultants
              and/or investigators retained, employed, or informally consulted by counsel in
              connection with the prosecution, defense and/or appeal of this action, including
              their secretarial and clerical employees who are assisting in the prosecution,
              defense, and/or appeal of this action;

           d. The parties and the officers and employees of any party solely for the purpose of
              and to the extent necessary for prosecuting, defending, and/or appealing this
              litigation; and



                                                                                                    4
 
     Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 5 of 16



           e. Actual witnesses during the trial or any hearing in this litigation provided,
              however, that all such Discovery Material shall be filed with the Court only under
              permanent or temporary seal pursuant to the Federal Rules of Civil Procedure and
              after notice to the producing party.

            Discovery Material Designated “Confidential-Attorney’s Eyes Only”

    8. Except with the prior consent of the producing party or upon prior order of this Court,

counsel for the Parties may disclose Discovery Material designated ‘Confidential – Attorney’s

Eyes Only,” and the contents of Discovery material so designated, only to the following persons:

           a. Subject to paragraphs 16, 17, and 18 of this Order, the Court, persons employed
              by the Court, and stenographers transcribing the testimony or argument at a
              hearing, trial, or deposition in this action or any appeal therefrom;

           b. Counsel for the parties in this action, associates, legal assistants, litigation support
              personnel, paralegals, secretarial and clerical employees, and outside copy
              services, litigation consulting services, document management services, and
              graphic services that are assisting counsel in the prosecution, defense, and/or
              appeal of the actions referenced in this subparagraph;

           c. Subject to paragraph 9 of this Order, independent and party experts, consultants
              and/or investigators retained, employed, or informally consulted by counsel in
              connection with the prosecution, defense, and/or appeal of this action;

           d. Any person identified on the face of any such Material designated as
              “Confidential – Attorney’s Eyes Only” as an author or recipient thereof; and

           e. Actual witnesses during the trial or any hearing in this litigation provided,
              however, that all such Discovery Material shall be filed with the Court only under
              permanent or temporary seal pursuant to the Federal Rules of Civil Procedure and
              after notice to the producing party.

    9. To the extent that any party identifies documents which they believe need more

protection than provided herein, they shall seek protection from the Court.

                                            Statements

    10. Any person falling under the definition contained in paragraph 7(c) or 8(c) who is given

access to documents or materials designated as “Confidential” or “Confidential – Attorney’s

Eyes Only” shall, prior to being given any such material, be informed of the provisions of this


                                                                                                    5
 
     Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 6 of 16



Order, read this Order, and execute an Undertaking, in the form annexed hereto as Exhibit A,

indicating that he or she has read this Order and will abide by its terms. The original of any such

Undertaking shall be retained by counsel for each party who intends to or does provide such

persons any such material, until the conclusion of this action, including all appeals. The parties

agree not to use these Undertakings for any purpose other than monitoring and enforcing

compliance with this Order.

                                           Non-Disclosure

    11. Any person receiving documents or materials designated as “Confidential” or

“Confidential – Attorney’s Eyes Only” shall not disclose such information to any person who is

not entitled to receive such information under this Order. If documents or materials designated

as “Confidential” or “Confidential – Attorney’s Eyes Only” are disclosed to any person other

than in the manner authorized by this Order, the person responsible for the disclosure must

immediately bring all pertinent facts relating to such disclosure to the attention of counsel for all

parties and, without prejudice to other rights and remedies of any party, make a reasonable good

faith effort to retrieve such material and to prevent further disclosure by it or by the person who

received such information.

                                      Deposition Procedure

    12. In conducting depositions or examinations of witnesses in this action, no party who has

received information or material designated as “Confidential” or “Confidential – Attorney’s Eyes

Only” shall examine a witness about the material unless the witness has knowledge of or had

access to the information prior to the deposition, is a current or former officer or director of the

designating party or is produced as a witness for the designating party pursuant to Fed. Rule of

Civ. Pro. 30(b)(6). If such information is to be discussed or disclosed during a deposition, the



                                                                                                   6
 
     Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 7 of 16



designating party shall have the right to exclude from attendance at the deposition during the

time the protected information is to be discussed any individual not entitled under this Protective

order to receive the documents or materials designated as “Confidential” or “Confidential –

Attorney’s Eyes Only.”

               Designation of Written Discovery Material by Party or Witness

    13. Any producing party or witness shall designate Discovery material as “Confidential” or

“Confidential – Attorney’s Eyes Only” at the time of its production by marking any originals or

copies of the documents or other tangible materials with the legend “Confidential” or

“Confidential – Attorney’s Eyes Only” at the time of their production. If any document or other

material is used as an exhibit at trial or otherwise displayed to the Jury, all markings indicating

that the document or material had previously been designated by the party pursuant to this Order

as “Confidential” or “Confidential – Attorney’s Eyes Only” shall be removed prior to offering

the document or material into evidence or displaying same, and no mention shall be made of the

previous designation of confidentiality. Such removal shall not alter the confidential nature and

treatment of the document or material or the obligations of any party or third party under this

Order.

                          Designation of Testimony by Party or Witness

    14. Any party or non-party witness shall have ten (10) days from the date of receipt of a copy

of a deposition or other transcript in which to designate all or portions of the testimony as

“Confidential” or “Confidential – Attorney’s Eyes Only.” Notwithstanding paragraph 5 of this

Order, from the time the testimony is given through such 10-day period, all information

disclosed in the testimony shall be entitled to the highest level of protection under this Order.

After such ten (10) days have expired, any testimony not designated shall no longer be deemed



                                                                                                 7
 
     Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 8 of 16



“Confidential” or “Confidential – Attorney’s Eyes Only” subject, however, to the terms of

paragraphs 21 and 22 below. Such designation shall be made after transcription by sending

written notice identifying the information to be so designated by page and line numbers to

counsel of record, and the reporters, within the 10-day time period. The reporter shall stamp

each page so designated as “Confidential” or “Confidential – Attorney’s Eyes Only” as

appropriate.

                                 Non-Confidential Information

    15. Discovery material may not be designated “Confidential” or “Confidential – Attorney’s

Eyes Only” if the content or substance thereof:

           a. Is already in the public domain at the time of disclosure;

           b. Becomes part of the public domain at the time, unless as a result of (i) action or
              failure to act, where there is a duty to act, on the part of the recipient; or (ii) any
              malefaction or breach of duty by a recipient or any third party;

           c. Is already in the possession of the recipient party at the time of disclosure as a
              result of legal means and was not acquired under assurance of confidentiality
              directly or indirectly from the disclosing party; or

           d. Is made available to the recipient party by a third party who obtained the same by
              legal means and without any obligation of confidence to the disclosing party.

    16. In the event that any designation of Discovery material as “Confidential” or “Confidential

– Attorney’s Eyes Only” is or becomes inconsistent with the terms of paragraph 15, such

designation shall be honored by the parties until amended by agreement among the parties or

until otherwise ordered by this Court in accordance with the provisions of this Order or until the

conclusion of the litigation.

                                             Disputes

    17. Any party may object to the designation of particular Discovery Material as

“Confidential” or “Confidential – Attorney’s Eyes Only” by giving written notice to the party or


                                                                                                   8
 
     Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 9 of 16



witness making the designation and to all other parties.          Such notice shall identify with

specificity the Discovery Material to which the objection is directed and the basis of the

objection. The parties shall then meet and confer in good faith in an attempt to resolve such

dispute. If the parties are unable to resolve the dispute informally, the designating party shall

have ten (10) days from the initial meet and confer conference to file a motion to uphold the

designation of the challenged Discovery Material. Any such motion shall be set for hearing on

the first available date. If no motion is filed within ten (10) days, or any mutually agreed to

extension of time, all parties may treat the disputed material as non-confidential. To maintain

the designation, and to prevail on the motion, the designating party shall have the burden of

proof that the challenged Discovery Material is entitled to the protection of the particular

designation originally given. The disputed Discovery Material shall be treated as originally

designated pending a ruling from the Court.

    18. Any party that receives Discovery Material that has been designed as “Confidential” or

“Confidential- Attorney’s Eyes Only” in accordance with the Order shall not file such

information or documents with the Court without following the process in this section. No party

shall file any Discovery Material designed as “Confidential” or “Confidential- Attorney’s Eyes

Only” with the Court without giving all parties twenty (20) days’ notice of such filing so that any

party can seek protection under the Federal Rules of Civil Procedure. If any party desires to seek

the protection of such Discovery Materials under the Federal Rules of Civil Procedure, they shall

notify the party seeking to file Discovery Materials within three (3) days of their intention to file

a Motion to Seal. In the event the party seeking to file the Discovery Materials receives such a

notice, such party shall not file the Discovery Materials until such time as the Court makes a

ruling on the Motion to Seal. In the event that that the Court grants the Motion to Seal, the



                                                                                                   9
 
    Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 10 of 16



Discovery Material shall only be filed under seal pursuant to the Federal Rules of Civil

Procedure.

    19. All transcripts of any nature or portions thereof, exhibits, answers to interrogatories,

responses to requests for admissions, and other documents filed or used in hearings in this action

which have previous thereto been designated as comprising or containing “Confidential” or

“Confidential- Attorney’s Eyes Only” Discovery Material, or any pleading or memorandum

purporting to reproduce or paraphrase such information, if filed with the Court under Seal, shall

be filed or submitted to the Court in sealed envelopes or other appropriate sealed containers on

which shall be endorsed the title of this action, an indication of the nature of its contents, the

word “Confidential,” or “Confidential- Attorney’s Eyes Only” (as appropriate), and contain any

other information or designation required by the Federal Rules of Civil Procedures, the Local

Rules, and any other applicable procedure required by the Court for filing with the Court under

Seal.


                                  Return of Discovery Material

    20. All provisions of this Order restricting the use of information obtained during discovery

shall continue to be binding after the conclusion of this action, including all appeals, until further

order of the Court, unless the parties agree otherwise in writing. Any and all originals and copies

of documents or other information produced in this litigation, whether or not designated as

“Confidential” or “Confidential- Attorney’s Eyes Only” shall, at the request and expense of the

producing party, be returned to the party within sixty (60) days after a final, non-appealable

judgment herein or settlement of this action. In the event that documents are returned at the

request of the producing party, the other party or its outside counsel shall certify in writing that

all such documents have been returned.


                                                                                                   10
 
    Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 11 of 16



                                            No Waiver

    21. Neither the taking of any action in accordance with the provisions of this Order, nor the

failure to object hereto, shall be construed as a waiver of any claim, defense, or privilege in this

action. This Order shall not be construed as a waiver of any right to object to the furnishing of

information in response to discovery and, except as expressly provided, shall not relieve any

party or witness of the obligation to produce information properly sought in the course of

discovery. Nothing herein shall be construed to affect in any way the admissibility of any

document, testimony, or other evidence at trial of this action. Nothing contained in this Order or

any declaration of confidentiality or restriction hereunder shall be used or characterized by any

party as an “admission” by a party opponent. The failure of a party to object to or to challenge a

designation by another party of Discovery Material as “Confidential” or “Confidential-

Attorney’s Eyes Only” shall not constitute an admission that the materials so designated are in

fact trade secrets, or other sensitive confidential or proprietary business, technical or financial

information, or are entitled to any legal protection. The failure of a party to object or to challenge

a designation by another party of Discovery Material as “Confidential” or “Confidential-

Attorney’s Eyes Only” upon initial receipt of this material shall not constitute or be construed as

a waiver of that party’s right to subsequently object to or to challenge such designations at any

later time.

                                Inadvertent Failure to Designate

    22. Inadvertent failure to designate materials as Discovery Material as “Confidential” or

“Confidential- Attorney’s Eyes Only” at the time of production or the designation of such

materials at a lower level of confidentiality than warranted pursuant to this Order may be

remedied by supplemental written notice given by the producing party. Upon receipt of such



                                                                                                   11
 
    Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 12 of 16



notification, all documents, materials, or testimony so designated or re-designated shall be fully

subject to this Order as if it had been initially so designed and shall be re-marked by the

receiving party; provided however, that the receiving party shall incur no liability for any

previous treatment of such information in conformance with its original designation. The party

receiving such notice shall make a reasonable good faith effort to ensure that any analyses,

memoranda, or notes which were internally generated based upon such information shall

immediately be treated in conformance with any designation or re-designation.

                                     Inadvertent Production

    23. The inadvertent production of any document or other information during discovery in this

action shall be without prejudice to any claim that such material is privileged under the attorney-

client privilege, or protected from discovery as work product within the meaning of the Federal

Rules of Civil Procedure, and no party or entity shall be held to have waived any rights by such

inadvertent production. Upon written request by the inadvertently producing party or entity, the

receiving party shall (i) return the original and all copies of such documents within three (3) days

of receiving the request, and (ii) shall not use such information for any purpose until further

order of the Court. Any analyses, memoranda, or notes which were internally generated based

upon such information shall be destroyed. Upon written request by the receiving party, the

inadvertently producing party shall make the document available for in camera inspection by the

Court in connection with any challenge to the claim of privilege or work product protection.

    24. Nothing herein will restrict the party from whom the return of the documents is requested

from filing a motion with the Court contesting the designation of the material as privileged or

protected by the work product doctrine; provided, however, the party filing the motion cannot

refer to the content of the document nor contend that any privilege has been waived.



                                                                                                 12
 
    Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 13 of 16



                                    Inconsistent Designations

    25. In the event a party produces two or more identical copies of a document and any such

copy is designated with a lesser degree of confidentiality than any other copy, all such identical

documents shall be treated in accordance with the most restrictive designation on any copy once

the inconsistent designation is known. The producing party shall be responsible for informing the

party receiving the inconsistently designated information of the inconsistent designation;

however, if any person subject to this Order receives such inconsistently designated information,

and has actual knowledge of the inconsistent designation, the person shall treat all copies in

accordance with the most restrictive designation.

                                Further Motions Not Precluded

    26. Entry into this Order shall be without prejudice to any motion for relief from the

provisions hereof or to any motion for further restriction on the production, exchange, or use of

any document or to any motion for further restriction on the production, exchange, or use of any

document or other information in the course this action; provided, however, that no such motion

shall be made after the entry of a final judgment or settlement.

                            No Restrictions on Admissibility or Use

    27. Nothing herein shall impose any restriction on the use or disclosure by a party of its own

documents or information, including the deposition testimony of its employees or experts, except

to the extent such deposition testimony involves the disclosure of information designated by

another party as “Confidential” or “Confidential- Attorney’s Eyes Only” pursuant to the terms of

this Order.




                                                                                               13
 
    Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 14 of 16



                                    Continuing Jurisdiction

    28. The court retains the jurisdiction subsequent to settlement or entry of judgment to enforce

the terms of this Order.

IT IS SO ORDERED on the ____ day of _______________, 2018.




                                             HONORABLE LYNN N. HUGHES




                                                                                                14
 
    Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 15 of 16



APPROVED AS TO FORM AND SUBSTANCE:



LITTLER MENDELSON, P.C.             WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

 /s/ Allan H. Neighbors, IV          /s/ Alexandra Ledyard (with permission)
Allan H. Neighbors, IV              Mark J. Levine
Texas Bar No. 24033660              State Bar No. 00791102
SDTX No. 34398                      S.D. Adm. #20021
aneighbors@littler.com              mlevine@wkpz.com
Amanda Wingfield Goldman            Alexandra Ledyard
Texas Bar No. 24082209              State Bar No. 24087903
SDTX No. 1358644                    S.D. Adm. #221151
agoldman@littler.com                aledyard@skpz.com
1301 McKinney Street, Suite 1900    11 Greenway Plaza, Suite 1400
Houston, Texas 77010                Houston, Texas 77046
713.951.9400 (Telephone)            Telephone: (713) 961-9045
713.513.5971 (Telecopier)           Facsimile: (713) 961-5341




                                                                               15
 
     Case 4:18-cv-01712 Document 13 Filed on 10/23/18 in TXSD Page 16 of 16



                                           EXIBIT A
                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ARCHROCK SERVICES, L.P.,                           §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §   Civil Action No. 4:18-CV-1712
                                                   §
ROBERT L. ESHLEMAN,                                §
                                                   §
               Defendant.                          §

              ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND

        The undersigned has read the Agreed Protective Order, understands its contents, and

hereby undertakes to make no disclosures of Confidential Information to any person who is not

permitted to have access to Confidential Information by this Order, as applicable. In addition,

the undersigned agrees not to use Confidential Information for any purpose whatsoever other

than in connection with this litigation or its potential resolution through business negotiations

between the parties.

        The undersigned further understands that a violation of this undertaking could be

punishable as a contempt of court and hereby submits to the jurisdiction of the Court for

purposes of enforcement of the Protective Order.

Date:                                                  Name:
 
